                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


UNITED STATES OF AMERICA                              )
                                                      )       Case No. 4:09-cr-44
v.                                                    )
                                                      )       MATTICE / LEE
STEVE CHILDERS                                        )


                              REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 13,

2009. At the hearing, defendant moved to withdraw his not guilty plea to Count One and entered

a plea of guilty to Count One, that is of conspiracy to manufacture, distribute, and possess with the

intent to distribute Fifty (50) grams or more of methamphetamine (actual) and Five Hundred (500)

grams or more of a mixture and substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A) in exchange for

the undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One be granted, his plea of guilty to the charge in Count One, that is of conspiracy to manufacture,




Case 4:09-cr-00044-HSM-SKL            Document 74         Filed 11/17/09    Page 1 of 2      PageID
                                            #: 143
distribute, and possess with the intent to distribute Fifty (50) grams or more of methamphetamine

(actual) and Five Hundred (500) grams or more of a mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846

and 841(b)(1)(A) be accepted, the Court adjudicate defendant guilty of the charge in Count One, that

is of conspiracy to manufacture, distribute, and possess with the intent to distribute Fifty (50) grams

or more of methamphetamine (actual) and Five Hundred (500) grams or more of a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled substance,

in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A), and a decision on whether to accept the plea

agreement be deferred until sentencing. I further RECOMMEND defendant remain in custody until

sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea

agreement, and imposition of sentence are specifically reserved for the district judge.



                                               s/Susan K. Lee
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
in this matter. See 28 U.S.C. §636(b).




Case 4:09-cr-00044-HSM-SKL            Document 74         Filed 11/17/09      Page 2 of 2       PageID
                                            #: 144
